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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------X Case No. 20-cv-3311-VEC
SOCIAL LIFE MAGAZINE, INC.,

             Plaintiff,
v.

SENTINEL INSURANCE COMPANY
LIMITED,

          Defendant.
------------------------------X

NOTICE OF APPEAL

     Notice is hereby given that Plaintiff Social Life Magazine

inc. in the above-named case hereby appeals to the United States

Court of Appeals for the Second Circuit from the Order dated May

14, 2020 denying plaintiff’s motion for a preliminary

injunction.




Dated:       New York, New York
             May 17, 2020           ____/s/_______________
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